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                                                            Pg 1 of 30

                                                                                        1325 Avenue of the Americas
                                                                                                19th Floor
                                                                                           New York, NY 10019
                                                                                     212-752-8000 212-752-8393 fax
                                                                                                    —
                                                                                                New Jersey
Jacob S. Frumkin                                                                                    —
Associate                                                                                        Delaware
                                                                                                    —
                                                                                                 Maryland
Reply to New York Office                                                                            —
Writer’s Direct Line: 646-563-8944                                                                 Texas
Writer’s Direct Fax: 646-563-7944                                                                   —
Writer’s E-Mail: jfrumkin@coleschotz.com                                                          Florida


                                                     August 29, 2019

Via ECF and E-mail (garrity.chambers@nysb.uscourts.gov)

The Honorable James L. Garrity, Jr.
United States Bankruptcy Judge
United States Bankruptcy Court for the
Southern District of New York
One Bowling Green
New York, NY 10004-1408

            Re:          In re Penny Ann Bradley, Case No. 18-10122 (JLG)

Dear Judge Garrity:

        This firm is counsel to Atlas Union Corp. (“Atlas”) in the above-referenced chapter 11 case
of Penny Ann Bradley (the “Debtor”). In accordance with Your Honor’s Chambers’ Rules, Atlas
hereby requests that Your Honor schedule a telephonic conference with respect to the Order
Pursuant to Bankruptcy Rule 2004 (I) Authorizing the Issuance of a Subpoena for the Provision of
Testimony by the Debtor and (II) Compelling the Production of Documents by the Debtor [Docket
No. 85] (the “2004 Order”). As discussed below, the Debtor has failed to comply with her
obligations under the 2004 Order.

        On March 28, 2019, the Court entered the 2004 Order pursuant to which, among other
things, (i) Atlas was authorized to serve a subpoena on the Debtor compelling her to appear for an
oral examination upon at least fifteen (15) days’ prior written notice and (ii) the Debtor was directed
to respond to the document requests attached to the 2004 Order (the “Document Requests”) by
April 17, 2019. On April 29, 2019, Mr. Daniel Alter, Esq. made an initial document production to
my colleague, Nolan Shanahan. The cover letter enclosing the initial production stated that
additional responsive documents would be produced. See Ex. A hereto. Thereafter, Mr. Alter
indicated on numerous occasions that the Debtor was in possession of additional responsive
documents. See, e.g., Ex. B hereto (stating that the Debtor would “continue to assemble the
outstanding documents for Atlas”); Ex. C hereto (“Penny still has documents to produce.”); Ex. D
hereto (“Penny has been working hard on this - we’re fully aware that the balance of documents
needs to be produced quickly.”). As of the date hereof, the Debtor has not produced any additional
documents.

       On May 28, 2019, I received an e-mail from Mr. Alter requesting that Atlas enter into a
confidentiality agreement “with respect to Penny’s document production,” notwithstanding that he

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Cole Schotz P.C.

The Honorable James L. Garrity, Jr.
August 29, 2019
Page 2

already had produced documents without the parties having entered into such an agreement. A few
days later, Mr. Shanahan and I were contacted by Mr. Joseph Maniscalco, Esq., who informed us
that his law firm, Lamonica Herbst & Maniscalco LLP (the “LHM Firm”), would be representing
the Debtor with respect to the 2004 examination. For the next several months, Atlas, the Debtor
and NSM82 LLC (which also had a Bankruptcy Rule 2004 order entered in its favor, see Docket
No. 89) negotiated, and ultimately entered into, a confidentiality agreement (the “Confidentiality
Agreement”), a copy of which is attached hereto as Exhibit E. The Confidentiality Agreement
states that “[t]he Debtor continues to work with her accountant and her proposed special counsel to
supplement her production of documents responsive to the Document Demands.”

         On August 9, 2019, I sent an email to the LHM Firm inquiring as to the status of the
Debtor’s supplemental production(s). That same day, Mr. Maniscalco inquired as to “[w]hat
documents specifically [I was] looking for,” to which I responded that Atlas was seeking all
documents responsive to the Document Requests and explained that Mr. Alter had indicated on
numerous occasions that the Debtor had additional documents to produce. On August 11, 2019, Mr.
Maniscalco responded that he had “no idea what [Mr. Alter] told me” (even though I had provided
him with e-mails showing what Mr. Alter had told me) and telling me that his “firm [is] handling
the litigation aspect of this.” A true and correct copy of this e-mail exchange is attached hereto as
Exhibit F. Atlas respectfully submits that the Debtor’s attempts to delay, or otherwise circumvent
her obligation to comply with, the Rule 2004 examination should not be tolerated. Rather, the
Debtor should be compelled to fully respond to the 2004 Order so that Atlas is given a meaningful
opportunity to conduct the Rule 2004 examination that was authorized, and directed, by the Court.

         In light of the foregoing, Atlas submits that it has satisfied Your Honor’s Chamber’s Rules
to confer with the opposing party to resolve the dispute. Indeed, Atlas is prepared, and reserves all
rights, to file a motion to compel and to impose sanctions; however, Atlas is mindful that Your
Honor’s Chamber’s Rules require the parties to participate in a conference with the Court before
Atlas can file such a motion. Accordingly, Atlas respectfully requests that the Court schedule a
teleconference to address the Debtor’s failure to the comply with the 2004 Order.


                                                        Respectfully submitted,
                                                        COLE SCHOTZ P.C.

                                                        /s/ Jacob S. Frumkin

                                                        Jacob S. Frumkin


cc:      Daniel S. Alter, Esq.
         Joseph S. Maniscalco, Esq.
         Gary F. Herbst, Esq.
         Nolan E. Shanahan, Esq.
         Daniel F.X. Geoghan, Esq.
         Kenneth L. Baum, Esq.
54451/0003-17759769v2
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                                              EXHIBIT A




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                                               Pg 4 of 30


                                    DANIEL SCOTT ALTER
                                        Attorney-at-Law
                                 360 Westchester Avenue #316
                                 Port Chester, New York 10573
                                         (914) 393-2388
                                       dsa315@mac.com

                                                   April 29, 2019
   Cole Schotz, P.C.
   1325 Avenue of the Americas, 19th Floor
   New York, NY 10019
   Attn: Nolan E. Shanahan, Esq.
   (via hand delivery)

    Re: Penny Bradley, Chapter 11, SDNY Case No. 18-10122(JLG)

   Dear Nolan:

           In response to the Rule 2004 Order entered in the above-referenced Chapter 11 case on
    March 28 2019, please note the following:

           (1)      Enclosed please find all documents responsive to No. 1.

           (2)      Enclosed please find all documents responsive to No. 2.

           (3)      Enclosed please find all documents responsive to No. 3.

            (4)     Enclosed please find all documents responsive to No. 4.

            (5)     Enclosed please find all documents responsive to No. 5.

            (6)     Responsive documents to No. 6 to be produced.

          n\       Enclosed please find documents responsive to No. 7.        Additional responsive
          V' /
    documents to No. 7 to be produced.

            (8)     Enclosed please find all documents responsive to No. 8.

            (9)     No documents responsive to No. 9 exist.

            (10)    No documents responsive to No. 10 exist.

                    Enclosed please find documents responsive to No. 11. Additional responsive
           (11)
     documents to No. 11 to be produced.

            (12)     No documents responsive to No. 12 exist.

            (13)     No documents responsive to No. 13 exist.

             (14)    No documents responsive to No. 14 exist.
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                                                  Pg 5 of 30


         (15)     Enclosed please find documents responsive to No. 15. Additional responsive
   documents to No. 15 to be produced.

            (16)    Responsive documents to No. 16 to be produced.

            (17)    Responsive documents to No. 17 to be produced.

            (18)    Responsive documents to No. 18 to be produced.

            (19)    Enclosed please find all documents responsive to No. 19.

            (20) Responsive information will be provided in connection with the filing of the
   Debtor’s Monthly Operating Reports.

          (21)   Responsive information will be provided in connection with the filing of the
   Debtor’s Monthly Operating Reports.

            (22)  Responsive information will be provided in connection with the filing of the
    Debtor’s Monthly Operating Reports.

            (23)     Enclosed please find all documents responsive to No. 23.

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                                                    icmam uuwiauumg    DphtA!*
                                                                                         ^   DuVlSG.
                                                                                                —
    Additionally, if you have any questions or concerns, please do not hesitate to contact me at the
    above-listed phone number or email address.

                                                        Respectfully yours,
                                                        /s/ Daniel S. Alter
                                                        Daniel S. Alter
    Ends.
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                                                   Pg 6 of 30

                                              EXHIBIT B




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                                                 Pg 7 of 30

Frumkin, Jacob S.

From:                        Daniel Alter on behalf of Daniel Alter <dsa315@mac.com>
Sent:                        Monday, April 29, 2019 5:56 PM
To:                          Shanahan, Nolan
Cc:                          Frumkin, Jacob S.
Subject:                     Re: Message from ALTER DANIEL (919143932388) [IWOV-CSDOCS.FID1854529]


Nolan / Jacob,

Just so you know, Penny has been working hard, in good faith, to comply with the discovery demands in a
timely manner. She will continue to assemble the outstanding documents for Atlas, as well as for
NSM82. Also, we are in the process of retaining an accountant, who has already met with her. The
accountant will prepare the Monthly Operating Reports, which will include information that you and / or
Ken seek.

Danny
(914) 393-2388



On Apr 29, 2019, at 4:40 PM, Shanahan, Nolan
<NShanahan@coleschotz.com<mailto:NShanahan@coleschotz.com>> wrote:



Yes, I have them.


<image002.png>
Nolan E. Shanahan
Member
1325 Avenue of the Americas | 19th Floor | New York, NY | 10019-6079
Direct 646.563.8935 | Firm 212.752.8000 | Fax 646.563.7935 | Cell 917.533.5437 |
nshanahan@coleschotz.com <mailto:nshanahan@coleschotz.com>
New Jersey <https://protect-us.mimecast.com/s/bxeDCjRvm0ulY3OquWgdAy>           |  New York
<https://protect-us.mimecast.com/s/MUR6CkRwnruYkrwQSVB9Ex>            |   Delaware <https://protect-
us.mimecast.com/s/Stl3ClYvo2hO1AMZtyHpjU>         | Maryland <https://protect-
us.mimecast.com/s/6L6DCmZ2pYu1pAMnS9V--W>            | Texas <https://protect-
us.mimecast.com/s/LnY6Cn5YqgtlXKWoum1o2K>           | Florida <https://protect-
us.mimecast.com/s/zmwYCo2vrjslDBwzuoSJQA>
vCard <https://protect-us.mimecast.com/s/XuPoCpYRvkhQ9vw8S79gXl>           | bio <https://protect-
us.mimecast.com/s/9QiqCqxV0lsL1z25hv6DN1>          | website <https://protect-
us.mimecast.com/s/O_pTCrkExmcwr1mviLJKpZ>

Legal Practice Assistant: Donna Richardson | 212.752.8000 x 3005 | drichardson@coleschotz.com
<mailto:drichardson@coleschotz.com>


From: Frumkin, Jacob S.
Sent: Monday, April 29, 2019 4:34 PM
To: Daniel S. Alter
Cc: Shanahan, Nolan
Subject: FW: Message from ALTER DANIEL (919143932388) [IWOV-CSDOCS.FID1854529]

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                                                   Pg 8 of 30
Danny:

I was out of the office this morning. Were you able to drop the documents off?

Thanks,

Jacob

<image003.png>
Jacob S. Frumkin
Associate
25 Main Street | Hackensack, NJ | 07601
Direct 646.563.8944 | Firm 212.752.8000 | Fax 646.563.7944 | jfrumkin@coleschotz.com
<mailto:jfrumkin@coleschotz.com>
New Jersey <https://protect-us.mimecast.com/s/bxeDCjRvm0ulY3OquWgdAy>          |   New York
<https://protect-us.mimecast.com/s/MUR6CkRwnruYkrwQSVB9Ex>           |   Delaware <https://protect-
us.mimecast.com/s/Stl3ClYvo2hO1AMZtyHpjU>        | Maryland <https://protect-
us.mimecast.com/s/6L6DCmZ2pYu1pAMnS9V--W>           | Texas <https://protect-
us.mimecast.com/s/LnY6Cn5YqgtlXKWoum1o2K>          | Florida <https://protect-
us.mimecast.com/s/zmwYCo2vrjslDBwzuoSJQA>
vCard <https://protect-us.mimecast.com/s/8KtVCv2YB8sOE2l6tEUXcj>        | bio <https://protect-
us.mimecast.com/s/R-pKCwpEDKF0vAN1hX2S7G>           | website <https://protect-
us.mimecast.com/s/O_pTCrkExmcwr1mviLJKpZ>

Legal Practice Assistant: Megan Musall | 212.752.8000 x 3010 | mmusall@coleschotz.com
<mailto:mmusall@coleschotz.com>




From: Cisco Unity Connection Messaging System [mailto:unityconnection@coleschotz.com]
Sent: Monday, April 29, 2019 12:47 PM
To: Frumkin, Jacob S.
Subject: Message from ALTER DANIEL (919143932388)




******
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                                              EXHIBIT C




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                                                Pg 10 of 30

Frumkin, Jacob S.

From:                         Daniel Alter on behalf of Daniel Alter <dsa315@mac.com>
Sent:                         Wednesday, May 1, 2019 6:09 PM
To:                           Levy, Jr., Richard
Cc:                           Shanahan, Nolan; Frumkin, Jacob S.; 'Kenneth Baum'; Harris, Marion R.
Subject:                      Re: In re Bradley - Rule 2004 examinations [IWOV-CSDOCS.FID1854529]


Gentlemen,

(1) That is correct. Penny still has documents to produce. Additionally, a certain amount of responsive
information will be incorporated into her Monthly Operating Reports. Penny is working diligently on
completing production and the Monthly Operating Reports. My understanding is that she was with the
accountant for much of the day. (Also, I anticipate filing the accountant retention application before the
weekend).

(2) I don't have any problem with Pryor Cashman attending on May 20 in an observatory capacity.

(3) I haven't fully discussed this with my client or the accountant yet, but we may consider requesting
that the accountant attend on May 20, as well....it may be helpful to have him walk through what he's
preparing. It's not officially a request / suggestion at this point...for now, it's something for us to
consider.

Danny
(914) 393-2388




On May 1, 2019 at 5:46 PM, "Levy, Jr., Richard" <RLevy@PRYORCASHMAN.com> wrote:

Thanks, Nolan.



Richard Levy, Jr.
Pryor Cashman LLP
Tel.: (212) 326-0886
Fax: (212) 798-6393
Email: rlevy@pryorcashman.com<mailto:rlevy@pryorcashman.com>

From: Shanahan, Nolan [mailto:NShanahan@coleschotz.com]
Sent: Wednesday, May 01, 2019 5:46 PM
To: Levy, Jr., Richard <RLevy@PRYORCASHMAN.com>; Frumkin, Jacob S. <JFrumkin@coleschotz.com>;
'Kenneth Baum' <kbaum@kenbaumdebtsolutions.com>
Cc: Daniel S. Alter (dsa315@mac.com) <dsa315@mac.com>; Harris, Marion R.
<MHarris@PRYORCASHMAN.com>
Subject: RE: In re Bradley - Rule 2004 examinations [IWOV-CSDOCS.FID1854529]


Rich,
The deposition has been rescheduled for May 20 at my office at 10am. No issue with you or someone
from your firm attending. I am having the documents Ms. Bradley produce to us scanned and will forward
them once that is completed, if not tomorrow then Monday. Danny has advised that the production is not
yet complete, so we will forward any additional documents upon receipt.
                                                       1
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                                                Pg 11 of 30
Nolan


From: Levy, Jr., Richard [mailto:RLevy@PRYORCASHMAN.com]
Sent: Wednesday, May 01, 2019 5:23 PM
To: Shanahan, Nolan; Frumkin, Jacob S.; 'Kenneth Baum'
Cc: Daniel S. Alter (dsa315@mac.com<mailto:dsa315@mac.com>); Harris, Marion R.
Subject: In re Bradley - Rule 2004 examinations

Gentlemen:

I understand that document production by Penny Bradley in response to the Rule 2004 orders entered in
the bankruptcy case is occurring or about to occur. Please recall that in court several hearings ago, I
requested – and each of you agreed on behalf of your clients– to provide me, on behalf of Russell and
Lydia Pollack, which copies of the materials produced by the Debtor. Please let me know when we should
expect to receive the materials.

I have asked my client if he wishes to have a representative of my firm attend and observe the oral
examination (which I believe is set for May 8?). I assume that also will not be objectionable to you
(please confirm). If my clients elect not to have us attend, we will ask that one of you provide us with a
copy of the transcript.

Best,
         Rich



Richard Levy, Jr.
Pryor Cashman LLP
7 Times Square
New York, NY 10036-6569
Tel.: (212) 326-0886
Fax: (212) 326-0806 or (212) 798-6393
Email: rlevy@pryorcashman.com<mailto:rlevy@pryorcashman.com>

[Description: http://www.pryorcashman.com/i/logo_pryor.jpg]<https://protect-
us.mimecast.com/s/ya7jC5ylpRcgMy58tOEI-7>
www.pryorcashman.com<https://protect-us.mimecast.com/s/m5ZxC68mqBFVPRjksmKhqW>
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Association of Independent Law Firms)


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________________________________

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email and delete this message from your inbox.

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                                             EXHIBIT D




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                                                Pg 14 of 30

Frumkin, Jacob S.

From:                         Daniel Alter on behalf of Daniel Alter <dsa315@mac.com>
Sent:                         Monday, May 6, 2019 5:09 PM
To:                           Frumkin, Jacob S.
Cc:                           Shanahan, Nolan
Subject:                      Re: Bradley Production [IWOV-CSDOCS.FID1854529]


Jacob,

I’m back from Toronto tomorrow night. Hopefully, I’ll have a positive update and / or documents on
Wednesday. Penny has been working hard on this - we’re fully aware that the balance of documents
needs to be produced quickly.

Danny

Sent from my iPhone

On May 6, 2019, at 11:20 AM, Frumkin, Jacob S.
<JFrumkin@coleschotz.com<mailto:JFrumkin@coleschotz.com>> wrote:



Danny:

Please advise as to when Penny’s production to Atlas will be complete. It is now over a week passed her
deadline, which, as a reminder, already was extended as an accommodation.

Thank you,

Jacob


<image003.png>
Jacob S. Frumkin
Associate
25 Main Street | Hackensack, NJ | 07601
Direct 646.563.8944 | Firm 212.752.8000 | Fax 646.563.7944 | jfrumkin@coleschotz.com
<mailto:jfrumkin@coleschotz.com>
New Jersey <https://protect-us.mimecast.com/s/6y92CgJxjnIPPNV9uN4IZP>         |  New York
<https://protect-us.mimecast.com/s/WsEkCjRvm0ullAp8hRWRrY>          |   Delaware <https://protect-
us.mimecast.com/s/CkLvCkRwnruYY4m9SQb0el>          | Maryland <https://protect-
us.mimecast.com/s/nvgvClYvo2hOOkgxCq6qJs>        | Texas <https://protect-
us.mimecast.com/s/1Kl1CmZ2pYu116EzUQm116>           | Florida <https://protect-
us.mimecast.com/s/kuPLCn5YqgtllxMvhEkcB6>
vCard <https://protect-us.mimecast.com/s/vReYCo2vrjsll8xEhWWGx0>         | bio <https://protect-
us.mimecast.com/s/I2o2CpYRvkhQQyXmfkZyEW>           | website <https://protect-
us.mimecast.com/s/pijQCqxV0lsLLRmZsMpu77>

Legal Practice Assistant: Megan Musall | 212.752.8000 x 3010 | mmusall@coleschotz.com
<mailto:mmusall@coleschotz.com>




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from your system.




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                                             EXHIBIT E




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                                       Pg 24 of 30
18-10122-jlg   Doc 164   Filed 08/29/19 Entered 08/29/19 14:07:27   Main Document
                                       Pg 25 of 30
18-10122-jlg   Doc 164   Filed 08/29/19 Entered 08/29/19 14:07:27   Main Document
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                                                Pg 27 of 30

                                             EXHIBIT F




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Frumkin, Jacob S.

From:                               Joseph Maniscalco <JSM@lhmlawfirm.com>
Sent:                               Sunday, August 11, 2019 11:22 AM
To:                                 Frumkin, Jacob S.
Cc:                                 Gary Herbst; Shanahan, Nolan; Geoghan, Daniel F.; Kenneth L. Baum Esq.
                                    (kbaum@kenbaumdebtsolutions.com)
Subject:                            Re: Bradley/Estimation Motion [IWOV-CSDOCS.FID1854529]


Jacob.

This is a good faith attempt to resolve a discovery disputes under Rule 37. I will advise the Court that I have attempted
to engage in a resolution of the discovery disputes under Rule 37 and that you have rejected that offer and we will
proceed accordingly.

Thanks.

Joseph S. Maniscalco - please excuse any misspellings as my thumbs don't always work well on this phone. Thanks
Sent from my iPhone


On Aug 11, 2019, at 9:30 AM, Frumkin, Jacob S. <JFrumkin@coleschotz.com> wrote:

          Joe:

          You have the full scope of what Danny told us because I attached his correspondence to my last
          email. As shown in those e-mails, there are additional responsive documents that have not yet been
          produced.

          We do not need to discuss further unless your client does not intend to comply with the 2004
          Order. Please let us know if that is the case.

          Thank you,

          Jacob

          Jacob Frumkin
          Cole Schotz P.C.
          25 Main Street
          Hackensack, NJ 07601
          646.563.8944

          Sent from my iPhone

          On Aug 11, 2019, at 7:58 AM, Joseph Maniscalco <JSM@lhmlawfirm.com> wrote:

                  Jacob:

                  I have no idea what Danny told you and if it did say that it was a while back. My firm is
                  handling the litigation aspect of this. If you would like to discuss this further, let me
                  know.
                                                              1
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                                          Pg 29 of 30
      Thanks

      Joseph Maniscalco, Esq.

      From: Frumkin, Jacob S. <JFrumkin@coleschotz.com>
      Sent: Friday, August 9, 2019 12:43 PM
      To: Joseph Maniscalco <JSM@lhmlawfirm.com>; Gary Herbst <GFH@lhmlawfirm.com>
      Cc: Shanahan, Nolan <NShanahan@coleschotz.com>; Geoghan, Daniel F.
      <DGeoghan@coleschotz.com>; Kenneth L. Baum Esq.
      (kbaum@kenbaumdebtsolutions.com) <kbaum@kenbaumdebtsolutions.com>
      Subject: RE: Bradley/Estimation Motion [IWOV-CSDOCS.FID1854529]

      All documents responsive to our 2004 requests. At a minimum, paragraph 2 of the
      confidentiality agreement states that the Debtor will be “resubmitting” the productions
      to Atlas and NSM82. Additionally, Danny told us that Penny has additional documents
      to produce. Please see attached. Thank you.

      From: Joseph Maniscalco <JSM@lhmlawfirm.com>
      Sent: Friday, August 9, 2019 12:31 PM
      To: Frumkin, Jacob S. <JFrumkin@coleschotz.com>; Gary Herbst
      <GFH@lhmlawfirm.com>
      Cc: Shanahan, Nolan <NShanahan@coleschotz.com>; Geoghan, Daniel F.
      <DGeoghan@coleschotz.com>; Kenneth L. Baum Esq.
      (kbaum@kenbaumdebtsolutions.com) <kbaum@kenbaumdebtsolutions.com>
      Subject: RE: Bradley/Estimation Motion [IWOV-CSDOCS.FID1854529]

      Jacob:

      What documents specifically are you looking for? My client has
      already turned over a great deal of documents. The accountant is
      completing the operating reports for the past 2 months and they will
      be filed shortly.

      On another note, our appraiser would like to inspect the premises on
      Monday at 11AM. Can you coordinate that? I emailed Nolan last
      week about this prior to him leaving for vacation and he was never
      able to get back to me. I would like the appraiser to get in the
      premises. Please let me know. Thanks


      _______________________________
      Joseph S. Maniscalco, Esq. , Partner

      <image001.jpg>
      3305 Jerusalem Avenue
      Wantagh, New York 11793
      Tele. (516) 826-6500

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      Direct.(516) 804-1551
      Fax. (516) 826-0222
      www.lhmlawfirm.com


      From: Frumkin, Jacob S. [mailto:JFrumkin@coleschotz.com]
      Sent: Friday, August 09, 2019 12:28 PM
      To: Joseph Maniscalco; Gary Herbst
      Cc: Shanahan, Nolan; Geoghan, Daniel F.; Kenneth L. Baum Esq.
      (kbaum@kenbaumdebtsolutions.com)
      Subject: FW: Bradley/Estimation Motion [IWOV-CSDOCS.FID1854529]




      Joe/Gary:

      Please let us know when we can expect to start receiving documents.

      Thank you,

      Jacob

      From: Joseph Maniscalco <JSM@lhmlawfirm.com>
      Sent: Tuesday, July 30, 2019 3:04 PM
      To: Frumkin, Jacob S. <JFrumkin@coleschotz.com>; Geoghan, Daniel F.
      <DGeoghan@coleschotz.com>
      Cc: Gary Herbst <GFH@lhmlawfirm.com>; Shanahan, Nolan
      <NShanahan@coleschotz.com>; kbaum@kenbaumdebtsolutions.com
      Subject: RE: Bradley/Estimation Motion [IWOV-CSDOCS.FID1854529]

      Attached please find a fully executed Confidentiality Stipulation


      _______________________________
      Joseph S. Maniscalco, Esq. , Partner

      <image001.jpg>
      3305 Jerusalem Avenue
      Wantagh, New York 11793
      Tele. (516) 826-6500
      Direct.(516) 804-1551
      Fax. (516) 826-0222
      www.lhmlawfirm.com




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      system.

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